              Case 2:24-cr-00137-JKW-RJK Document 15 Filed 12/11/24 Page 1 of 1 PageID# 32

AO 442 (Rev. 11/11) Arrest Warrani



                                          United States District Court                                                           r\ f
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                                                                    for the

                                                         Eastern District of Virginia


                      United States of America
                                                                                                                                  u
                                  V.                                    )
                                                                                               2:24cr137
                                                                        )          Case No.


                        MELISSA APODACA
                                                                        )U£'PXS
                                                                        )
                                                                        )
                              Defendant


                                                         ARREST WARRANT

To:       Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge withoufunnecessary delay
(name of person to be arrested)        Melissa Apodaca
who is accused of an offense or violation based on the following document filed with the couit:

      Indictment            □ Superseding Indictment          □ Information           □ Superseding Information              □ Complaint
□     Probation Violation Petition            □ Supervised Release Violation Petition           □ Violation Notice           □ Order of the Court

This offense is briefly described as follows:
    T.18:1349 - Conspiracy (Count One, et al.)




Date:           12/04/2024
                                                                                                  IssiNng officer's signature


Cit)' and slate:         Norfolk, Virginia                                           Lawrence R. Leonard. U.S. Magistrate Judge
                                                                                                    Printed name and title



                                                                    Return

                                                                   LI                                                                       L
           This warrant was received on (date)                               , and the person was arrested on (date)
at (city and state)         D<./\vg,rC7*■ CO

 Date:
                                                                                                 Arresting oiffcer's signature


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                                                                                                    Printed name and title                      (


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